                    Case 1:20-cv-05233-SEG                     Document 115-12             Filed 01/18/24       Page 1 of 1           Exhibit 11
                      United Inn And Suites
                      4649 Memorial Drive
                                                                                                                               Customer Receipt
                      Decatur, GA 30032                                                                       Thursday, January 28, 2021 1 :14 PM
                      Phone 404-836-8100
                      Fax 404-836-8180
                      UIS-DC



Kikia Anderson
4900 Centrau Dr Apt 99
Stone Mountain Ga 30083 US
GID: 722992719100



 #32997                           Kikia Anderson
                                  Jul 20, 17 Thu· Jul 2 1, 17 Fri

Date                                 Receipt      Qty Description                           Tender          Amount        Balance         Ru nning
1. Jul 20, 17 Thu    02:28 PM       567515         1   Ga Hotel Motel Fee Tax   5.00 ea.                       5.00           5.00          $5.00
2. Jul 20, 17 Thu    02:28 PM       567515             Hotel Tax    8.00%                                      4.17           9.17          $9.17
3. Jul 20, 17 Thu    02:28 PM       567515             Queen Room Charge (134)                                52.18          61 .35        $61.35
                                                       Jul 20, 17 Thu (1)
4. Jul 20, 17 Thu    02:28 PM       567515             Sales Tax    7.00%                                      3.65          65.00         $65.00
5. Jul 20, 17 Thu    02:28 PM       567515             Payment                               Cash           (65.00)           0.00          $0.00



                                                                                                Charges/ Debits $65.00 Payments/Credits: ($65.00)




                                                                                                                           DEF 000510

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